    Case 1:23-cr-00239-CKK          Document 151-3           Filed 10/22/24   Page 1 of 1




                           UNITED STATES DISTRICT COURT

                                 DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA
                   Plaintiff,

       v.
                                                             Case No. 1:23-cr-00239
ILYA LICHTENSTEIN, and
HEATHER MORGAN                                               Judge Colleen Kollar-Kotelly
                     Defendants.



            [DEFENDANT’S PROPOSED] ORDER GRANTING MOTION FOR
       ADMISSION OF ATTORNEY KIERSTEN A. FLETCHER PRO HAC VICE


       The Court has reviewed Defendant Ilya Lichtenstein’s motion for admission of attorney

Kiersten A. Fletcher pro hac vice. Upon consideration of that motion, the Court grants attorney

Kiersten A. Fletcher pro hac vice admission to this Court.




IT IS SO ORDERED.

DATED:
                                                    United States District Judge
